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13
                                  UNITED STATES DISTRICT COURT
14
                                          DISTRICT OF NEVADA
15
      DIANA ROSAS, individually,                             )      Case No.: 2:18-cv-01200-APG-NJK
16                                                           )
                     Plaintiff,                              )      STIPULATION AND ORDER TO
17                                                           )      CONTINUE TRIAL DATE AND
             vs.                                             )      ALL RELATED DEADLINES
18                                                           )      (FOURTH REQUEST)
      GEICO CASUALTY COMPANY; and DOES                       )
19    I-V; ROE CORPORATIONS I-V;                             )
                  Defendants.                                )
20                                                           )
21
22           The Parties to this matter, by and through their respective counsel of record, hereby file this

23    Stipulation and Order to Continue Trial, which is currently set on the July 11, 2022 stack. This

24    continuance is requested due to David J. Feldman, Esq.’s pre-planned and pre-paid vacation taking

25    place that same week.
26           IT IS HEREBY STIPULATED AND AGREED that the Parties will be available for trial
27    on the following dates:
28                   1.       November 7, 2022;


                                                       1
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 1                   2.      November 14, 2022; or
 2                   3.      November 28, 2022.
 3            IT IS SO STIPULATED.
 4
       Dated this 23rd day of June, 2022.                 Dated this 23rd day of June, 2022.
 5
       By: _/s/ Justin Corne__________                    By: _/s/ Jonathan Carlson_______________
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17
18
19
20                                                ORDER
21
      GOOD CAUSE APPEARING from the stipulation of the parties, IT IS SO ORDEREDWKDWWKH
22
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23    VFKHGXOHGIRU1RYHPEHUDWDPLQ/9&RXUWURRP&

24                                          _______________________________________
                                              ______________________
                                            UNITED
                                               IT              DISTRICT COURT JUDGE
                                                 TED STATES DIST
25                                                 June 24, 2022
                                            Dated: _________________________________
26
27
28


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